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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

          In re:
                                         Chapter 11
          THE WEINSTEIN COMPANY HOLDINGS
          LLC, et al.,                   Case No. 18-10601 (MFW)

                                     Debtors.1                          (Jointly Administered)

                                                                        Docket Ref. No. 2113



              ORDER APPROVING MOTION OF Y MOVIE, LLC, Y THEATRICAL, LLC, YFE
             HOLDINGS, INC., OA3, LLC, AND RMF, LLC, PURSUANT TO SECTION 107(b) OF
              THE BANKRUPTCY CODE, BANKRUPTCY RULE 9018 AND LOCAL RULE 9018-
              1(b), (I) AUTHORIZING MOVANTS TO FILE EXHIBITS TO DECLARATION OF
             ROBERT P. BERMINGHAM IN SUPPORT OF INVESTMENT COUNTERPARTIES’
                MOTION TO (A) ENFORCE SALE ORDER, (B) CONFIRM ASSUMPTION OF
                LIABILITIES BY LANTERN ENTERTAINMENT LLC PURSUANT TO ASSET
               PURCHASE AGREEMENT, AND (C) COMPEL PERFORMANCE BY LANTERN
             ENTERTAINMENT LLC UNDER ASSET PURCHASE AGREEMENT UNDER SEAL,
               AND (II) DIRECTING PARTIES TO REDACT CONFIDENTIAL INFORMATION

                   Upon the motion (the “Seal Motion”)2 of Y Movie, LLC, Y Theatrical, LLC, YFE

         Holdings, Inc., OA3, LLC, and RMF, LLC (collectively, the “Investment Counterparties”) for

         entry of an order (i) authorizing the Investment Counterparties to file the Confidential Exhibits

         under seal, and (ii) directing parties to redact confidential information related to Confidential

         Exhibits in subsequent pleadings; and it appearing that the relief requested in the Seal Motion is

         in the best interests of the Investment Counterparties, the Debtors and other parties in interest;

         and this Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C.

         1
                  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are
         (3837). The mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York,
         New York 10013. Due to the large number of Debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors and the last four digits of their federal tax identification
         numbers are not provided herein. A complete list of this information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/twc.
         2
                   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Seal
         Motion.
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         §§ 1334(b) and 157, and the Amended Standing Order of Reference from the United States

         District Court for the District of Delaware dated as of February 29, 2012; and this Court having

         found that venue of these cases and the Seal Motion in this district is proper pursuant to

         28 U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a core proceeding

         pursuant to 28 U.S.C. § 157(b); and this Court having found that notice of the Seal Motion has

         been given as set forth in the Seal Motion and that such notice is adequate and no other or further

         notice need be given; and this Court having determined that it may enter a final order consistent

         with Article III of the United States Constitution; and that the legal and factual bases set forth in

         the Seal Motion establish just cause for the relief granted herein; and after due deliberation and

         sufficient cause appearing therefor,

                IT IS HEREBY ORDERED THAT:

                1.      The Seal Motion is GRANTED as set forth herein.

                2.      The Investment Counterparties are authorized to file the Confidential Exhibits

         under seal.

                3.      The Investment Counterparties shall provide copies of the unredacted versions of

         the Confidential Exhibits to the Debtors, this Court, the Office of the United States Trustee for

         the District of Delaware, counsel to the Committee, and Lantern, subject to Local Rule

         9018-1(d).

                4.      The Investment Counterparties are authorized to take all actions necessary to

         effectuate the relief granted pursuant to this Order in accordance with the Seal Motion.




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                5.     This Court retains jurisdiction with respect to all matters arising from or related to

         the implementation of this Order.




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                Wilmington, Delaware                           MARY F. WALRATH
                                                         3     UNITED STATES BANKRUPTCY JUDGE
